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                                                                                                            CO-386-online
                                                                                                                 10/03


                                   United States District Court
                                   For the District of Columbia
Campaign Legal Center                               )
                                                    )
                                                    )
                                                    )
                                     Plaintiff                                1:18-cv-00053
                       vs                           )        Civil Action No._______________________
                                                    )
Federal Election Commission                         )
                                                    )
                                                    )
                                    Defendant       )


                                                 CERTIFICATE RULE LCvR 7.1

                                           Campaign Legal Center
I, the undersigned, counsel of record for ____________________________________ certify that to the best of my knowledge and

                                                                           Campaign Legal Center
belief, the following are parent companies, subsidiaries or affiliates of _______________________________________ which have

any outstanding securities in the hands of the public:

  None




These representations are made in order that judges of this court may determine the need for recusal.


                                                               Attorney of Record
                                                                /s/ Adav Noti
                                                               _______________________________________
                                                               Signature

 DC Bar No. 490714
________________________________________                       Adav Noti
                                                               _______________________________________
BAR IDENTIFICATION NO.                                         Print Name

                                                               1411 K Street NW, Ste. 1400
                                                               _______________________________________
                                                               Address

                                                               Washington DC               20005
                                                               _______________________________________
                                                               City          State        Zip Code

                                                               202-736-2200
                                                               _______________________________________
                                                               Phone Number
